                   Case 8:22-cv-00868-JVS-ADS Document 33 Filed 07/19/22 Page 1 of 4 Page ID #:197




                      1 KENNETH C. FELDMAN, SB# 130699
                          E-Mail: Ken.Feldman@lewisbrisbois.com
                      2 DAVID D. SAMANI, SB# 280179
                          E-Mail: David.Samani@lewisbrisbois.com
                      3 LEWIS BRISBOIS        BISGAARD & SMITH LLP
                        633 West 5th Street, Suite 4000
                      4 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      5 Facsimile: 213.250.7900
                      6 Attorneys for Defendant NIRANJAN
                        FRED THIAGARAJAH
                      7
                      8                                   UNITED STATES DISTRICT COURT
                      9               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                     10
                     11 TREVOR BAUER,                                     Case No. 8:22-cv-00868-JVS-ADS
                     12                      Plaintiff,                   DEFENDANT NIRANJAN FRED
                                                                          THIAGARAJAH’S REQUEST FOR
                     13             vs.                                   JUDICIAL NOTICE IN SUPPORT
                                                                          OF SPECIAL MOTION TO STRIKE
                     14 LINDSEY C. HILL AND NIRANJAN                      COMPLAINT PURSUANT TO CAL.
                        FRED THIAGARAJAH,                                 CIV. PROC. CODE § 425.16
                     15
                                 Defendants.                              Date: October 3, 2022
                     16                                                   Time: 1:30 p.m.
                                                                          Crtrm.: 10C
                     17
                                                                          Judge: Hon. James V. Selna
                     18
                                                                          Action Filed:       April 25, 2022
                     19                                                   Trial Date:         None Set
                     20
                     21            In support of his Special Motion to Strike Pursuant to Cal. Civ. Proc. Code §
                     22 425.16, Defendant NIRANJAN FRED THIAGARAJAH (“Mr. Thiagarajah”), by and
                     23 through his counsel, hereby requests that the Court take judicial notice of the
                     24 following documents:
                     25            1.        The February 8, 2022 Washington Post article entitled “Dodgers pitcher
                     26 Trevor Bauer won’t face charges over woman’s assault claims, prosecutor says.” A
                     27 true and correct copy of this document is attached hereto as Exhibit 1. The article is

LEWIS                28 also available at https://www.washingtonpost.com/sports/2022/02/08/trevor-bauer-
BRISBOIS                  4865-6230-1226.1
BISGAARD
& SMITH LLP                                                                                Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                                                    RJN ISO SPECIAL MOTION TO STRIKE
                   Case 8:22-cv-00868-JVS-ADS Document 33 Filed 07/19/22 Page 2 of 4 Page ID #:198




                      1 no-criminal-charges-assault-allegations/.
                      2          2.        Portions of the transcript of proceedings from August 19, 2021 in Hill v.
                      3 Bauer, Los Angeles Superior Court Case No. 21STRO03198 (the “Underlying
                      4 Proceeding”). A true and correct copy of this document is attached hereto as Exhibit
                      5 2. 1
                      6          3.        The transcript of proceedings from August 19, 2021 in the Underlying
                      7 Proceeding. A true and correct copy of this document is attached hereto as Exhibit 3.
                      8          4.        The February 25, 2019 Sports Illustrated article entitled “Trevor Bauer
                      9 Is More Concerned With Being Right Than Being Liked.” A true and correct copy
                     10 of this document is attached hereto as Exhibit 4. The article is also available at
                     11 https://www.si.com/mlb/2019/02/19/trevor-bauer-cleveland-indians-training-tools-
                     12 twitter-controversy-cy-young#gid=ci0254ea9910122511&pid=trevor-bauer-
                     13 eclectrodes-talljpg.
                     14          5.        The February 5, 2021 New York Post article entitled “A history of Trevor
                     15 Bauer’s many controversies.” A true and correct copy of this document is attached
                     16 hereto        as      Exhibit     5.        The     article      is    also      available      at
                     17 https://nypost.com/2021/02/05/trevor-bauer-detailing-pitchers-many-controversies/.
                     18          6.        The February 21, 2019 Guardian article entitled “Why is Cleveland
                     19 Indians’ Trevor Bauer MLB’s most hated man?” A true and correct copy of this
                     20 document is attached hereto as Exhibit 6.               The article is also available at
                     21 https://www.theguardian.com/sport/2019/feb/21/why-on-earth-is-climate-skeptic-
                     22 twitter-troll-trevor-bauer-mlb-most-hated-man.
                     23          7.        The February 8, 2022 CNN.com article entitled “Los Angeles Dodgers
                     24 pitcher Trevor Bauer won’t face criminal charges following allegations of assault.”
                     25
                     26   1
                                  Exhibit 2 contains those portions of the transcript germane to Mr. Thiagarajah’s
                     27 anti-SLAPP motion. Should the Court wish to view the entirety of the transcript from

LEWIS                28 the day in question, however, Mr. Thiagarajah is attaching it as Exhibit 3.
BRISBOIS
BISGAARD
                        4865-6230-1226.1                               2
& SMITH LLP                                                                                  Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                                                      RJN ISO SPECIAL MOTION TO STRIKE
                   Case 8:22-cv-00868-JVS-ADS Document 33 Filed 07/19/22 Page 3 of 4 Page ID #:199




                      1 A true and correct copy of this document is attached hereto as Exhibit 7. The article
                      2 is also available at https://www.cnn.com/2022/02/08/sport/mlb-trevor-bauer-no-
                      3 charges-spt/index.html.
                      4            Federal Rule of Evidence 201 allows the court to take judicial notice of certain
                      5 items without converting the motion to dismiss into one for summary judgment.
                      6 Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994). The court may disregard
                      7 allegations in a complaint that are contradicted by matters properly subject to judicial
                      8 notice. Daniels-Hall v. Nat’l Educ. Assn., 629 F.3d 992, 998 (9th Cir. 2010).
                      9            The court may take judicial notice of facts “not subject to reasonable dispute”
                     10 because they are either: “(1) generally known within the territorial jurisdiction of the
                     11 trial court or (2) capable of accurate and ready determination by resort to sources
                     12 whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201; see also Lee v.
                     13 City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (noting that the court may take
                     14 judicial notice of undisputed “matters of public record”), overruled on other grounds
                     15 by 307 F.3d 1119, 1125-26 (9th Cir. 2002). A court may properly take judicial notice
                     16 of court records. Kismet Acquisition, LLC v. Diaz-Barba (In re Icenhower), 755 F.3d
                     17 1130, 1142 (9th Cir. 2014).
                     18            Likewise, a court may properly take judicial notice of the existence and
                     19 content—although not the truth of the content—of published news articles. See Von
                     20 Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010)
                     21 (“Courts may take judicial notice of publications introduced to indicate what was in
                     22 the public realm at the time.”); In re Kalobios Pharms., Inc. Secs. Litig., 258 F. Supp.
                     23 3d 999, 1003-1004 (N.D. Cal. 2017); Signature Mgmt. Team, LLC v. Automattic, Inc.,
                     24 941 F. Supp. 2d 1145, 1147-1147 (N.D. Cal. 2013); cf. Benak v. Alliance Capital
                     25 Mgmt. L.P., 435 F.3d 396, 401 n. 15 (3d Cir. 2006).
                     26 / / /
                     27 / / /

LEWIS                28 / / /
BRISBOIS
BISGAARD
                          4865-6230-1226.1                             3
& SMITH LLP                                                                               Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                                                   RJN ISO SPECIAL MOTION TO STRIKE
                   Case 8:22-cv-00868-JVS-ADS Document 33 Filed 07/19/22 Page 4 of 4 Page ID #:200




                      1            Accordingly, Mr. Thiagarajah respectfully requests that the Court grant his
                      2 request and take judicial notice of the above-referenced items.
                      3
                      4 DATED: July 19, 2022                   LEWIS BRISBOIS BISGAARD & SMITH LLP
                      5
                      6
                                                               By:         /s/ David D. Samani
                      7
                                                                     DAVID D. SAMANI
                      8                                              Attorneys for Defendant NIRANJAN
                      9                                              FRED THIAGARAJAH

                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                          4865-6230-1226.1                           4
& SMITH LLP                                                                            Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                                                RJN ISO SPECIAL MOTION TO STRIKE
